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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   TRACEY CLINE GRAVELY                                            CASE NO. 20-10808
   1612 N O'HENRY BLVD                                             JUDGE BENJAMIN A. KAHN
   GREENSBORO, NC 27405

               DEBTOR

   SSN(1) XXX-XX-1696                                              DATE: 05/06/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
CAPITAL ONE BANK USA NA                                         $289.40     (U) UNSECURED
BY AMERICAN INFOSOURCE AS AGENT                              INT: .00%
P O BOX 71083                                          NAME ID: 181492      ACCT: 4209
CHARLOTTE, NC 28272-1083                                 CLAIM #: 0006      COMMENT:
DATA MAX                                                          $0.00     (U) UNSECURED
711 COLISEUM PLAZA COURT                                     INT: .00%      NOT FILED
WINSTON SALEM, NC 27106                                NAME ID: 136979      ACCT:
                                                         CLAIM #: 0007      COMMENT:
DELL FINANCIAL SERVICES LLC                                    $1,259.37    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10390                                            NAME ID: 65286     ACCT: 8272
GREENVILLE, SC 29603-0390                                 CLAIM #: 0009     COMMENT:
DEPT OF EDUCATION/NAVIENT                                         $0.00     (U) UNSECURED
P O BOX 9635                                                 INT: .00%      NOT FILED
WILKES BARRE, PA 18773                                 NAME ID: 151288      ACCT:
                                                         CLAIM #: 0008      COMMENT:
FIRST POINT RESOURCES                                              $0.00    (U) UNSECURED
P O BOX 26140                                                 INT: .00%     NOT FILED
GREENSBORO, NC 27402                                     NAME ID: 38570     ACCT:
                                                          CLAIM #: 0010     COMMENT:
GINNYS                                                          $321.49     (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                               INT: .00%
P O BOX 800849                                         NAME ID: 151294      ACCT: 9630
DALLAS, TX 75380                                         CLAIM #: 0011      COMMENT:
GUILFORD CO REGISTER OF DEEDS                                    $52.00     (Z) SPECIAL COST ITEM
P O BOX 3427                                                  INT: .00%
GREENSBORO, NC 27402                                      NAME ID: 1159     ACCT:
                                                          CLAIM #: 0015     COMMENT:
GUILFORD COUNTY TAX                                               $0.00     (P) PRIORITY
P O BOX 3138                                                 INT: .00%      NOT FILED
GREENSBORO, NC 27402                                   NAME ID: 119336      ACCT:
                                                         CLAIM #: 0001      COMMENT: OC
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NAME & ADDRESS OF CREDITOR                             AMOUNT       CLASSIFICATION
GUILFORD COUNTY TAX DEPT                                 $0.00      (S) SECURED
400 W MARKET ST                                     INT: .00%       NOT FILED
GREENSBORO, NC 27401                          NAME ID: 159804       ACCT:
                                                CLAIM #: 0004       COMMENT: OC,DIR
INTERNAL REVENUE SERVICE                                 $0.00      (P) PRIORITY
P O BOX 7346                                        INT: .00%       NOT FILED
PHILADELPHIA, PA 19101-7346                   NAME ID: 123770       ACCT: 1696
                                                CLAIM #: 0002       COMMENT: OC
JPMC                                                     $0.00      (U) UNSECURED
P O BOX 7013                                        INT: .00%       NOT FILED
INDIANAPOLIS, IN 46207                        NAME ID: 179553       ACCT:
                                                CLAIM #: 0012       COMMENT:
N C DEPARTMENT OF REVENUE                                  $0.00    (P) PRIORITY
BANKRUPTCY UNIT                                       INT: .00%     NOT FILED
P O BOX 1168                                      NAME ID: 9699     ACCT: 1696
RALEIGH, NC 27602-1168                            CLAIM #: 0003     COMMENT: OC
NORTHWEST BANK                                       $2,924.38      (V) VEHICLE-SECURED
P O BOX 337                                        INT: 5.25%
WARREN, PA 16365                              NAME ID: 183496       ACCT: 1189
                                                CLAIM #: 0005       COMMENT: 14HYUN
OPTIMUM OUTCOMES INC                                     $0.00      (U) UNSECURED
P O BOX 58015                                       INT: .00%       NOT FILED
RALEIGH, NC 27658                             NAME ID: 156530       ACCT:
                                                CLAIM #: 0013       COMMENT:
SCA COLLECTION INC                                       $0.00      (U) UNSECURED
P O BOX 876                                         INT: .00%       NOT FILED
GREENVILLE, NC 27835                           NAME ID: 55780       ACCT:
                                                CLAIM #: 0014       COMMENT:

TOTAL:                                                  $4,846.64
JOHN T ORCUTT ESQ                                      $4,500.00    ATTORNEY FEE
6616-203 SIX FORKS ROAD
RALEIGH, NC 27615




                                                                    ANITA JO KINLAW TROXLER,
                                                                    TRUSTEE
                                                                    500 W FRIENDLY AVE STE 200
                                                                    P O BOX 1720
                                                                    GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 05/06/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
